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FILED —____ LODGED |
1 Mark Baker-Plaintiff, pro-se ————_— RECEIVED
5007 Monta Vista Drive-East
9 Edgewood, WA. 98372-9276 DEC 2 1 2010
253-891-3411
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9 IN THE UNITED STATES DISTRICT COURT”
10 WESTERN DISTRICT OF WASHINGTON
am TACOMA DIVISION ..
uot CV10 5QR7&
13 Plaintiff ) No:
)
14 v. )
)
15 J. Zachery Lell )
16 )
Government of the City of Edgewood ) COMPLAINT
17 Edgewood Council Members: )
Jeff Hogan-Mayor ) VIOLATION OF
S 18 Mike Kelly, Deputy Mayor -- ) CONSTITUTIONAL
19 Paul Crowley, Council Member ) RIGHTS
Daryl Eidinger, Council Member +)
9017. Donna O’Ravez, Council Member)
Dave Olson, Council Member )
ai Steve Cope, Council Member ) Jury Trial Demanded
29 Mark Bauer, City Manager )
eB, )
931) =~ Defendants )
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27) i COMPLAINT Page 1
28); Mark Baker, Plaintiff Pro-Se
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COME NOW the Plaintiff above named for a cause of action against the
Defendants alleged as follows;
I. PARTIES

1.1 _— Plaintiff Baker is a resident of Pierce County, Washington State.

1.3. Defendant City of Edgewood is an incorporated city within Pierce County,
Washington State.

1.4 Other parties may be later added as Discovery uncovers their role
within this allegation. “s

I. JURISDICTION

2.1 The subject matter of this complaint involves conduct and actions
performed by the Defendants and alleged to have occurred in Pierce
County, Washington State within this Courts jurisdiction and which is a
violation of the Constitution of the United States. Jurisdiction is vested

within this Court by virtue of violations of the United States Constitution.

Il. GENERAL OVERVIEW OF THE COMPLAINT
Plaintiff became involved in a homeless housing project which provides
shelter and other services to the homeless during cold nights by offering
shelter in unused portions of his house. Housing is offered on a sliding

scale household bill reimbursement rate and includes total charity for those

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ke COMPLAINT __ Page 2
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The program has been effective in helping many people recover their lives
and other homes in other areas have participated in this program.

Shortly after new household members began to arrive, those who were
Black, Hispanic, and Oriental began to complain that the local police were
stopping them repeatedly as they walked to the store in this almost
exclusive White community and especially as they walked by the Mayors
large house which is located just one property away from Plaintiff Baker‘s
property which is a modest size home built in the 60’s but Which sits at the
top of the hill with superb city views below. Later in this complaint the
importance of this information will be revealed.

Shortly thereafter, the Edgewood Police, a contracted police service
through the Pierce County Sheriff, began to make regular visits to
Plaintiff Baker’s property and demanded to know what was going on in
there, meaning in the residence. It was explained that it was a normal
roommate situation with people contributing their money to share housing
costs. The police demanded entry to search the house but were refused.
Shortly thereafter, the Edgewood City Manager, Mark Bauer, sent out a
notice to the property address demanding that housing the homeless be
discontinued. Many return response letters were sent back to the city

requesting clarification as to who could occupy a property.

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In one undisputed phone conversation, the City Manager said that only
those people whom are on the deed may occupy the property and no
others. As unusual as this may be with no such requirement imposed on
any other city resident and believed to be on any other person in the nation
as far as research can tell, Plaintiff Baker complied by granting a legal
interest to all occupants.

Emails obtained through public records request show that the city seemed
internally confused as to what alleged violation had occurtéd and city
provided written information still remains vague. What is known bya
short survey is that over 100 other Edgewood residences had similar living
situations however it seemed as though Plaintiff Baker was being targeted
perhaps because the Mayor lived on the same street as he.

Although the home and the household members residing within it are the
friends of Plaintiff Baker, it appears that for some unknown reason the city
focused their dispute on household member Beaumont even though
written letters to them instructed them to make all complaints to the
recorded owner and that Beaumont is no longer owner of the property as
evidenced by county recordings.

All responsibilities for occupancy are to be addressed to the recorded

property owner, Plaintiff Baker, as he had sole control over the home

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i except for tasks assigned to Beaumont as a medical caregiver. Upon that, it
2 appeared that the city police department began a campaign of harassment
3 under the color of law. Some of those harassment incidents include the
. following:
6 3.10 Surveillance of the property by constant police patrols sitting on the street
7 and circling the block. In one incident, the recent Edgewood Craigslist
8 murder incident occurred in the city just a short distance away from the
9 Plaintiff's property while officers were apparently assigned to observe the
10 Plaintiffs property as all were observed concentrated near it
s apparently waiting for a house member to enter or exit and for them to
13 stop and question him as they had done many times before.
14 3.11 Entry into private areas of the home without invitation and without a
15 warrant including into gated private yards and an unlocked lower floor rear
16 door not normally open to the public whom would visit the property even
4 after being told verbally and in writing to stop the illegal conduct.
19 3.12 In one incident discussed in 3.15 below, Edgewood Police Chief Knutson
20 left the area where he had just issued a summons to a resident who had just
ai dropped off other household residents at the local food bank. After issuing
2 He the summons but strangely doubled back around to see if the house
: member Beaumont was still parked. Plaintiff Beaumont observed that the
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28}| ~ | Mark Baker, Plaintiff Pro-Se
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Chief then sped off towards the plaintiff's property just a short distance
away. After the plaintiff returned to the property, an ill guest who had
remained at the property reported that the Chief was obseryed sneaking
around the house and attempting entry into private areas of the property
and entering without a warrant. The Chief was confronted by the house
member who said that the Chief seemed surprised that someone was at
home believing that all were at the food bank dinner and he began to
stumble on his words. Chief Knudson commented that he Wis there to tell
the house member that he had just given Larry (Beaumont-a temporary
house member) a ticket and just wanted to let him know that. The Chief
then made a hasty retreat.

3.13 Traffic stops of both vehicles and pedestrians believed to have exited the
property. In some cases even individuals walking from other residences or
through the area were stopped and accused of exiting the Plaintiff's
property and were questioned regarding property activities. The Plaintiff
did not even know these people even though they took the time to walk
back to the property to inform him of the stop asking what is up with these
cops here.

_ 3.14 Attempting to solicit household members to act as “agents of the police”

and in some cases alluded that they would let them go from a traffic stop if

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1 3.15 Suggesting that one household member install a covert microphone on the
2 property and always inquiring into if the house member knew of any
3 microphones that were recording him because he did not want to talk in
: that area.
6 3.16 Harassment of individuals who did not waive their constitutional rights to
7 remain silent.
8 3.17 Interference with religious activities by following vehicles and individuals
9 departing the property as they went to events that followed the teachings of
4 it. Police Chief Knudson on one visit to the property verbally taunted
1 9 a household members belief in his religion and claim of being religious.
13 3.18 City police refusing to investigate an act of extortion against temporary
14 household member Beaumont and committed by a former house member
15 who was asked to leave under unfavorable circumstances for rule and
16 illegal drug use violations. The evicted member returned with police
i, claiming that $200 kept in a non-existent safe was not given back to him.
19 Proof showed that on the same day, the same evicted member
90 attempted to extort money from another house member by text messages
al showing that they originated from the evicted members phone. The
2 Woes: - extortionist at the time was working with the police as an informant
23H who was attempting to gain more information about the house and did not
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want to taint their source. Police refused to add this information to the
report.

3.21 Harassment of a household members not waiving their constitutional
rights to be questioned by the police which resulted in repeat pedestrian
stops, some as many as ten or more times.

3.22 Attempting to create a criminal scenario out of an incident with a former
drug abusing house member and who tested positive on a substance
abuse test. The former house member apparently engaged In‘a voluntary
sex act with another house member. The alleged “victim” was a 26 year , ,

old man and had received coaching from the police as to how to structure

his complaint so as to make it appear that a criminal event took place
rather than it being a consensual sex act with another unknown adult house
member. The “complainant also made claims of indecent exposure even
though the house is occupied by all adult males living in a very confined
space. The former house member as part of his Membership Agreement
had signed extensive legal documentation stating that he had no right

to privacy and that the all adult male household can and often do casually

lounge about as one would expect in their own home. To date, the facts of

the complaint have not been fully disclosed to the household member

Beaumont who was forced to directly respond to the Prosecutor because

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+: ‘the police attempted to structure the Complaint to their advantage.

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1 3.23 Ina later lawsuit filed against one complainant (former house
2 member), he said during a phone conversation when discussing if he
3
would be willing to voluntarily accept legal service on him, that a
4
5 Detective Johnson told him he would except legal service for him-
6 something not permitted under the court rules of service.
7 3.24 Staking out the local food bank on days when it is known that the
8 household members arrive to eat a dinner. In one recent incident, Chief
9 Knutson and two other patrol cars did so covering both entrances a city
10
1 block apart. As the driver pulled into the parking lot, he followed and
fi
12 issued a summons for not having an in state drivers license and one for
13 operating an illegal boarding house even though the driver is a resident of
14 another state and not the recorded owner of the property. Police also
15 stopped other non-household member food bank users and wanted to
16 know what other vehicles were used to transport people there from the
17
Plaintiff's household.
18 ..
19 3.25 Interference with religious activities and making comments denouncing a
90 household members religion.
ai 3.26 Acting under the color of law with matters of the city which are illegal in
z i nature, vague in wording, and without providing clear and concise
23 ~-
tesponses to the Plaintiff's written requests when asked numerous times
24 7 Geet
+: requesting clarification.
26 a
37 Page 9
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1 3.27 Police harassment to keep the Plaintiff and other houschold members from
2 testifying in any upcoming civil damage trial for the Widow and family of
3 the Craigslist murder victim.
. 3.28 Creating a situation which has made the Plaintiff Baker lose his property
6 right to quiet enjoyment by constructive conduct performed actions
7 amounting to Eminent Domain without just compensation, a violation of
8 the United States Constitution.
§ 3.30 Police and city retaliatory conduct against temporary hous¢ fhember
. Beaumont for using legal self-help to counter accusations made by them., |
2 3.32 Retaliatory acts because the Mayor, Defendant Hogan, whom lives a door
13 away from the Plaintiff, had a Mayors friend property purchase offer
14 rejected by the Plaintiff. Plaintiff owns a highly desirable property which
15 overlooks the city lights and has a Mount Rainier view with a tax view
16 enhancement assessed by the county.
i 3.32 Retaliatory acts because a friend of the Mayor whom purchased and built a
19 large home structure across the driveway from the Plaintiff and which
20 dwarfs the Plaintiff's home resulted in a legal dispute because the Plaintiff
al would not allow him to move the overhead power lines without providing
2 . underground service to his residence and because the Plaintiff won a legal
. , victory concerning an adverse possession claim. The Plaintiff had lived in
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1 his modest size home for about 16 years before any dispute with neighbors
2 occurred. This neighbor later went on to illegally have the Plaintiff's cable
3 TV wire disconnected when he was not at home.
: 3.33. Chief Knutson continued to question the Plaintiff's terminally ill
6 registered domestic partner of 31 years on many occasions even after being
7 told that spousal privilege was permanently invoked. The Chief continued
8 to use intimidation techniques to question him after waiting for the other
3 spouse to first leave the home. “=
A 3.34 Retaliatory acts because a side neighbor, who once worked for the owner ..
2 of the large home at 4923 Monta Vista Drive-East in Edgewood referred to
13 in 3.32 above and who purchased their property from him after he placed a
14 height restriction on it, later became involved in a legal dispute because
15 they allegedly disliked a homosexual (plaintiff & partner) couple of 31
16 years residing next to them. These retaliatory acts included the owners
A calling in a false complaint to Crime Stoppers as well as repeating the
19 same complaint almost word for word a few years later to the city in
320 written format and which resulted in an unjust and false complaint. This
al neighbor was also cited by the city for doing construction without a permit
22 Wes and had verbally accused house member Beaumont of making the
., ~ complaint even though that was impossible since that was the time period
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27 Pisin OC Page 11
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he was hospitalized with a massive stroke. Even though the city had
sufficient information to know that the complaint was false, they used this
as a reason to begin an investigation into a the faith based housing
program in which the Plaintiff participates.

Chief Knutson disclosed confidential medical information regarding
Plaintiff Baker to others when attempting to solicit household
information.

Demands by City Manager Mark Bauer that Plaintiff Baket permit

a warrantless search of his private home with so many officials listed
that they would not be able to fit comfortably inside any one room

at any one moment.

Demands by Chief Knutson that the name of every person who enters the
property be given to him and threats to the house member Beaumont for
failing to do so.

Retaliation because the Plaintiff had filed another past lawsuit against a
local police agency. -

Police Chief Knutson contacting the County Health Department and
requesting that they use their power to close down the house under the
guise that the septic system had failed. Later tests by both the Health

Department and Plaintiff's insurer’s own private engineers identified the

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1 water source as non-sewage run-off caused by “ground compression“ from

é the large house located at 4923 Monta Vista Drive-East and which sits

3 above the Plaintiff's property. Swab tests taken by the Health Department

: show that the water was not sewage. Emails communications between

6 Chief Knutson and the Health Department Official address each other as

7 friend and in fact the Plaintiff did receive an order to correct a non-existent

8 problem or face threats of other legal actions, including arrest.

9 3.36 Falsely claiming to a Washington State Court that legal service had been
A made on the Plaintiff. The Defendants court action was for a motion of
2 dismissal of the Plaintiff's State filed civil rights lawsuit. The case was
12 dismissed for non-attendance of the hearing by the Plaintiff and which
14 resulted in a complaint to the Washington State Bar Association regarding
15 Defendant Lell alleged misconduct..

16 3.35 Asof the filing of this lawsuit, the Defendants continue to violate the civil
i rights of the Plaintiff.
19
26 IV. CAUSES OF ACTION AGAINST THE DEFENDANTS:
al 4.1 Reallage the facts as stated within. Defendant Lell did violate the 7",
Pat Amendment of the United States Constitution by fabricating and falsely
ai swearing before a Court of Law that legal process service had been made
. on , : othe Plaintift thereby causing the Court to act upon false information.
26 .
27 Page 13
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1 4.2  Reallage the facts as stated within. The Defendants acting together and/or
2 alone did by their conduct fail to properly monitor Defendant Lell whom
: was acting as their legal counsel and therefore should be held equally
5 responsible because they had the power to stop the violation, but failed to
6 do so.
7 4.2  Reallage the facts as stated within. The Defendants did violate the
8 Plaintiffs 4" Amendment Right by acting or failing to act to prevent the
8 illegal entry into the Plaintiffs home even though instructed'to do so by
i the Plaintiff verbally and in writing. The Defendants acting together and/or,
2 alone did by their conduct or failure to act to prevent it, invade the sanctity
13 of the plaintiffs home without legal cause and without the authority of the
14 law.
15 4.3 Reallage the facts as stated within.
16 The Defendants violated the Plaintiff's Constitution Right to freely
i exercise his religion in violation of the 1* Amendment of the United States
19 Constitution. -
20 . 4,4 Reallage the facts as stated within. The Defendants did violate the
al Plaintiff's right to “Just Compensation” by creation of such illegal conduct
ow Mensa - under the color of legal authority that it made him fearful of residing on
. _ the property. The Defendants acting together and/or alone did exercise
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97|| i:COMPLAINT Page 14
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Eminent Domain over Plaintiff's Baker property by constructive means
and without payment of “Just Compensation”.

4.5 Reallage the facts as stated within. The Defendants did violate the
Plaintiff's 4" and 5“ Amendment Rights under the United States
Constitution by fabricating information provided on a probable cause
Affidavit submitted to a Washington Court of law requesting the issuance
of a criminal arrest warrant. The warrant was granted causing the Plaintiff

irreparable harm even if later found not guilty. “-

V. WHEREFORE, Plaintiff prays for judgment as follows;
5.1 That the City of Edgewood be ordered to pay “Just Compensation“
for the Plaintiffs property for acts amounting to Eminent Domain.
or that the Court set a penalty for their conduct not less than two million
dollars for each incident which contributed to this violation.
5.3 That the Defendants, jointly and severely, pay the Plaintiff 10
million dollars for each violation of Constitutional Rights that they either
committed or were in power to stop.
5.5 The acts alleged here to have been committed by the Defendants were

committed with malice, lack of concern for the rights of citizens, and with

gross disregard for the sacred rights afforded to citizens of this United
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1 States. The Plaintiff request that punitive damages be set at 40 million
2 dollars or greater.
3
5.6 That the Plaintiff be awarded anticipated medical costs for:treatment
4
5 caused by this traumatic event.
6 5.7 Other awards for damage as the Court may find as just.
7 5.8 Interest as determined at trial and until the day of full payment.
8 5.9 __ Legal costs including professional expert witness fee’s.
9 te
10
VI JURY DEMAND
11
12 6.1 The Plaintiff requests that a Jury hear the facts of this case.
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17 ye
8 DATED this_ 27 “ day of Reo mber 2010.
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Mark Baker, Plaintiff Pro-Se
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